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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                         Tallahassee Division


   JANE DOE et al.,

               Plaintiffs,              Civil No. 4:23-cv-00114-RH-MAF

        v.

   JOSEPH A. LADAPO et al.,

              Defendants.




              EXPERT REPORT OF ARON JANSSEN, M.D.
                   ON BEHALF OF PLAINTIFFS




                              August 16, 2023




                                Prepared by
                             Aron Janssen, M.D.




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I.    INTRODUCTION AND SUMMARY OF OPINIONS
      1.     My name is Aron Janssen, M.D. I am a board-certified child and

adolescent psychiatrist. I specialize in the treatment of gender dysphoria in children

and adolescents. I have been retained by counsel for Plaintiffs in the above-

captioned lawsuit to provide an expert opinion on the standards of care for treating

individuals diagnosed with gender dysphoria.

      2.     Gender dysphoria is a serious medical condition that is highly treatable.

There is a well-established standard of care for the treatment of gender dysphoria,

including for treatment of gender dysphoria in transgender youth with puberty

blockers and hormone therapy.        Medical treatment for gender dysphoria in

transgender youth provides considerable positive psychological benefits. On my

understanding, the rules challenged in this case will prevent Florida’s transgender

youth and adults who are diagnosed with gender dysphoria from accessing essential

medical care. In my professional opinion, transgender youth and adults who cannot

obtain the medical care that they need, including puberty blockers and hormone

therapy, will suffer and their mental health will deteriorate.

      A.     Qualifications
      3.     The information provided regarding my professional background,

experiences, publications, and presentations are detailed in my curriculum vitae. A

true and correct copy of my CV is attached as Exhibit A.


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      4.     I received my medical degree from the University of Colorado School

of Medicine. I completed my residency in psychiatry and a fellowship in child and

adolescent psychiatry at New York University Langone Medical Center.

      5.     In 2011, I founded the Gender and Sexuality Service at New York

University, a clinical service dedicated to treating children and adolescents with

gender dysphoria. In my last five years at NYU, that clinic served over 200 families,

with 2-3 new referrals each week.

      6.     I am currently the Vice Chair of the Pritzker Department of Psychiatry

and Behavioral Health and Chief Psychiatrist for the Gender Development Program

at Ann and Robert H. Lurie Children’s Hospital of Chicago. I am also a Clinical

Associate Professor of Child and Adolescent Psychiatry at Northwestern University

Feinberg School of Medicine. I maintain a clinical practice in Illinois where I treat

patients from Illinois and the surrounding states.

      7.     I have been treating children and adolescents with gender dysphoria for

over 10 years. I have treated over 300 children and adolescents with gender

dysphoria during my medical career. Currently, approximately 90 percent of the

patients in my clinical practice are transgender children and adolescents.

      8.     I am a contributing author to the Child and Adult Mental Health

chapters of the Eighth Version of the World Professional Association for




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Transgender Health’s (WPATH) Standards of Care for the Health of Transgender

and Gender Diverse People, Version 8 (hereafter, “WPATH SOC”).

      9.    The WPATH SOC provides clinical guidance for health professionals

based on the best available science and expert professional consensus. The purpose

of the WPATH SOC is to assist health providers in delivering necessary and

appropriate medical care to transgender and gender diverse people, in order to

maximize their patients’ overall health, psychological well-being, and self-

fulfillment. The WPATH SOC has been recognized and adopted as the prevailing

standard of care by the major professional associations medical and mental health

providers in the United States, including the American Medical Association,

American Academy of Pediatrics, American Psychiatric Association, American

Psychological Association, and Pediatric Endocrine Society, among others.

      10.   In addition, I have written a number of peer-reviewed journal articles

and chapters in professional textbooks about treatment of gender dysphoria in

children and adolescents. In 2018, I co-edited Affirmative Mental Health Care for

Transgender and Gender Diverse Youth: A Clinical Casebook, which is the first

published clinical casebook on mental health treatment for children and adolescents

with gender dysphoria. A full and complete list of my publications is included in

my CV.




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      11.    I am an Associate Editor for the journal Transgender Health, and an Ad

Hoc Reviewer for the journal LGBT Health. Each of these publications is a peer-

reviewed medical journal.

      12.    I am actively involved in training other medical and mental health

providers in the treatment of children and adolescents with gender dysphoria. I have

conducted trainings for over 1,000 medical and mental health providers and have

given dozens of public addresses, seminars, and lectures on the treatment of gender

dysphoria in children and adolescents. I have also taught a number of courses

through WPATH’s Global Education Initiative, which provides training courses

toward a member certification program in transgender health for practitioners around

the world.

      13.    I am a member of the following professional organizations: American

Psychiatric Association, American Academy of Child and Adolescent Psychiatry

(AACAP), and World Professional Association for Transgender Health (WPATH).

I am also a co-chair of the Sexual Orientation and Gender Identity Committee of

AACAP and have participated in the Gender Dysphoria Working Group of the

American Psychiatric Association, and the Transgender Health Committee of the

Association of Gay and Lesbian Psychiatrists.




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      B.     Compensation
      14.    I am being compensated at an hourly rate of $400/hour plus expenses

for my time spent in connection with this case. My compensation does not depend

on the outcome of this litigation, the opinions I express, or the testimony I may

provide.

      C.     Prior Testimony
      15.    In the previous four years, I have provided expert testimony by

deposition or at trial in Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.),

B.P.J. v. West Virginia State Board of Education et al., No. 2:21-cv-00316

(S.D.W.V.), L.E. v. Lee et al, No. 3.21-cv-00835 (M.D. Tenn.), and Loe v. Texas,

No. D-1-GN-23-003616 (District Court of Texas, Travis County).

      D.     Bases for Opinions

      16.    My opinions contained in this report are based on: (1) my clinical

experience as a psychiatrist treating transgender patients, including adolescents and

young adults; (2) my knowledge of the peer-reviewed research, including my own,

regarding the treatment of gender dysphoria, which reflects the clinical

advancements in the field of transgender health; (3) my work as a contributing author

of the WPATH SOC; and (4) my review of the law challenged in this case. In

preparing this report, I have also reviewed the materials listed in the attached

bibliography, Exhibit B. The sources cited therein are authoritative, scientific peer-

reviewed publications. These are the same types of materials that experts in my field
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of study regularly rely upon when formulating opinions on the subject. I reserve the

right to revise and supplement the opinions expressed in this report or the bases for

them if any new information becomes available in the future, including as a result of

new scientific research or publications or in response to statements and issues that

may arise in my area of expertise.

      17.    Additionally, I have reviewed the text of Florida Senate Bill 254, and

the text of the emergency rules adopted by the Florida Boards of Medicine and

Osteopathic Medicine entitled “Sex-reassignment Standards of Practice in Minors”

(64B8ER23-7, 64B15ER23-9) and “Mandatory Standardized Informed Consent for

Sex-reassignment Prescriptions or Procedures in Adults” (664B8ER23-8,

4B15ER23-10), along with the informed consent forms that each rule adopts.

II.   EXPERT OPINIONS
      A.     Gender Identity Development and Gender Dysphoria in Children and
             Adolescents
      18.    At birth, infants are assigned a sex, either male or female, based on the

appearance of their external genitalia. For most people, their sex assigned at birth,

or assigned sex, matches that person’s gender identity. For transgender people, their

assigned sex does not align with their gender identity.

      19.    Gender identity is a person’s innate sense of their gender. It is a core

and universal component of human identity.



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      20.   It is essential to a person’s mental health and well-being to be able to

live consistent with their gender identity. This is true for transgender and non-

transgender people.

      21.   Gender identity has a biological basis and cannot be altered through

medical or psychological interventions.

      22.   The evidence demonstrating that gender identity cannot be altered,

either for transgender or for non-transgender individuals, underscores the innate

nature of gender identity. Past attempts to “cure” transgender individuals by using

talk therapy, and even aversive therapy, to change their gender identity to match

their birth-assigned sex were ineffective and caused harm. The major associations

of medical and mental health providers, such as the American Medical Association,

the American Psychiatric Association, American Academy of Child and Adolescent

Psychiatry, the American Psychological Association, and WPATH’s standards of

care, consider such efforts harmful and unethical.

      23.   Gender dysphoria is the medical diagnosis for the severe and

unremitting psychological distress resulting from the incongruity between a

transgender person’s assigned sex and their gender identity. That distress can be

alleviated when a transgender person is able to live consistent with their gender

identity.




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      24.    It is a serious medical condition and is listed in the Diagnostic and

Statistical Manual, Version 5 (DSM-5), the diagnostic and coding compendium for

mental health professionals.

      B.     Standard of Care for Treatment of Gender Dysphoria in Youth
      25.    Like all children, transgender children can thrive, grow into healthy

adults, and have the same capacity for happiness, achievement, and contribution to

society as others. For this group of young people, that means supporting their need

to live in a manner consistent with their gender identity in all aspects of their lives.

      26.    Accordingly, the goal of treatment for gender dysphoria is to reduce

distress and improve functioning which often occurs through the process of enabling

the individual to live consistent with their gender identity.          The process of

undergoing those treatments is often referred to as gender transition. The stages that

make up a transgender person’s gender transition will depend on that individual’s

medical and mental health needs. The purpose of transition is to allow a transgender

person to live congruently with their gender identity, including in many cases

undergoing medical treatments to align the person’s body with who they are.

      27.    Typically, transgender people start their transition with a series of steps

that are commonly referred to as a “social transition.” Those steps include, but are

not limited to, changing their name, using different pronouns, wearing clothing and

adopting grooming habits typically associated with their gender identity. Making


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those changes enable a transgender person to begin living their life consistent with

their gender identity and helps ensure that they are treated as such by family, peers,

and others in the community. It is important to note that there are no medical

interventions for pre-pubertal transgender and gender-diverse children. For some

children, social transition is an appropriate intervention, while for others, treatment

for gender dysphoria may involve but not be limited to building family and social

support or building resilience.

      28.    After the onset of puberty, transgender young people may also start

taking puberty-delaying medication to prevent the development of unwanted and

psychologically distressing secondary-sex characteristics that conflict with the

person’s identity.

      29.    Gender affirming hormone therapy is medically necessary for some

transgender young people regardless of whether they have taken puberty-delaying

medication. That treatment causes their bodies to develop the secondary-sex

characteristics more aligned with their gender identity, such as facial and body hair

for boys who are transgender and female breast development in girls who are

transgender.

      30.    Delaying any of these treatments, including puberty blockers or

hormone therapy, when determined to be medically necessary will not only

exacerbate a transgender young person’s gender dysphoria, but also could lead to

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the development of other co-occurring mental health conditions, including

depression, anxiety, and disordered eating. Those co-occurring mental health

conditions may be accompanied by unhealthy coping behaviors such as self-harm,

substance misuse, and suicide attempts.

      C.      Safe and Effective Treatments for Gender Dysphoria
      31.     Research and clinical experience repeatedly reaffirm that gender

transition significantly improves the mental and physical health of transgender

young people and is the only treatment that has been demonstrably effective for

gender dysphoria.

      32.     This is true of each stage of a transgender young person’s gender

transition.   Transgender young people who underwent a social transition in

childhood demonstrated better mental health profiles than prior studies of gender

nonconforming children. See Lily Durwood, et al., Mental Health and Self-Worth

in Socially Transitioned Transgender Youth, 56 J. Am. Acad. of Child & Adol.

Psychiatry 116 (2017); Kristina Olson, et al., Mental Health of Transgender

Children who are Supported in Their Identities, 137 Pediatrics 1 (2016). This same

outcome has also been seen in a longitudinal study of transgender young people who

underwent each of the three stages of transition outlined above. Annelou L.C. de

Vries, et al., Young Adult Psychological Outcome After Puberty Suppression and

Gender Reassignment, 134 Pediatrics 696 (2014).


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        33.      Gender transition also can—and often does—alleviate co-occurring

mental health issues a transgender young person experienced prior to transition.

Following transition, transgender young people often see significant improvements

in functioning and quality of life. Treating their gender dysphoria also increases a

transgender young person’s capacity to develop and maintain better coping strategies

to manage any co-occurring conditions. For example, a recent study found that after

two years of hormone treatment, transgender youth experienced increases in positive

affect and life satisfaction and decreases in depression and anxiety symptoms. Diane

Chen, et al., Psychosocial Functioning in Transgender Youth after Two Years of

Hormones, 388 N. Engl. J. Med. 240 (2023).

        34.      Research shows that gender transition significantly improves the

mental health of transgender young people, bringing their mental health profiles into

alignment with their non-transgender peers. Kristina Olson, et al., Mental health of

transgender children who are supported in their identities, 137 Pediatrics 1 (2016);1

see also Jack Turban, et al., Pubertal suppression for transgender youth and risk of

suicidal ideation, 145 Pediatrics 1 (2020) (transgender people who accessed puberty

suppression treatment were 70% less likely to contemplate suicide).




1
    Anxiety was the only area where transgender young people differed from the non-transgender controls. On that
    measure, transgender young people showed slightly elevated levels of anxiety, but were still in the pre-clinical
    range.
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      35.    Well-established research demonstrates the effectiveness of gender

transition as treatment for gender dysphoria in adolescence. Jack Turban, Annelou

DeVries & Kenneth Zucker, Gender Incongruence & Gender Dysphoria, in Lewis’s

Child and Adolescent Psychiatry: A Comprehensive Textbook, (A Martin, et al., eds.,

5th ed., 2018).

      D.     The Role of Mental Health Providers in Assessing Necessity of
             Medical Treatments for Gender Dysphoria
      36.    The first objective of a mental health provider treating a child or

adolescent who appears to be experiencing gender dysphoria is to conduct a careful

and thorough assessment. That assessment allows the provider to accurately

diagnose the patient, including whether the patient meets the stringent criteria for

gender dysphoria and any co-occurring conditions.          The foundation of the

assessment process is building a detailed history of the patient, such as prior

treatment, trauma, substance misuse, among many other factors. That assessment

also requires a developmentally informed exploration of the patient’s relationship to

their gender identity over time that includes information obtained from multiple

informants whenever possible.

      37.    To appropriately conduct that assessment, the mental health provider

must draw from their professional training and experience in working with

transgender young people, exercise professional judgment, and tailor the assessment

to each individual patient and their family. The number of sessions that assessment

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requires will vary depending on the patient’s presentation and the complexity of the

issues the patient is navigating. The assessment process also goes beyond gathering

information from the patient and their family.

        38.      A detailed history and assessment are important to provide the context

for developing an appropriate treatment plan. That comprehensive assessment is

also needed to help inform possible future care plans, such as the patient’s need for

puberty blockers or hormone therapy.

        39.      A critical element of the standard of care is that it does not presume that

being transgender is incompatible with a young person’s short- and long-term health

and well-being. That is consistent with DSM-5 diagnostic criteria which is

“focus[ed] on dysphoria as the clinical problem, not identity per se.” American

Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders

(DSM-5), 451 (2013). As a result, therapists practicing consistent with the standard

of care will create a space where the patient can explore their gender identity,

knowing that being transgender and not being transgender are both equally

acceptable outcomes. 2




2
    As observed in the context of research on gender identity conversion efforts and family rejection, attempting to
    influence a young person’s gender identity development is harmful, ineffective, and unethical. For example, a
    recent study found that being exposed to gender identity conversion efforts was associated with greater odds of
    attempting suicide, especially for those had those experiences in childhood. Jack Turban, et al., Association
    between recalled exposure to gender identity conversion efforts and psychological distress and suicide attempts
    among transgender adults, 77 JAMA Psychiatry 68 (2020).
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      40.    Providing that individualized mental health treatment means that

mental health providers are not simply a rubber-stamp in the process for accessing

treatment for gender dysphoria. Instead, as is the case with all effective mental

health treatment, the focus of the treatment is supporting overall health and well-

being, regardless of whether the young person continues to identify as transgender.

As a result, I have had patients who presented with some symptoms of gender

dysphoria, but who ultimately did not meet the diagnostic criteria for a variety of

reasons, and therefore I recommended treatments other than transition to alleviate

their psychological distress. My experience in working with and speaking with other

gender specialists is that this is routine throughout the profession. Part of the rigor

of the diagnostic protocol is distinguishing between youth who are engaged in

gender exploration from youth who are transgender and who do or will need

treatment for gender dysphoria.

      41.    For young people who do meet the diagnostic criteria for gender

dysphoria, mental health treatment often involves referring a patient for medical

treatments. That process involves an assessment of the patient’s gender dysphoria,

co-occurring conditions, and the medical treatment’s likely effect on the patient’s

overall mental health and functioning. As part of that process, providers also discuss

the risks, benefits, and alternatives to treatment with transgender young people and

their parents.

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      42.    A patient’s readiness to begin a particular course of medical treatment

requires an evaluation of the patient’s and the parent’s/caregiver’s understanding of

the goals and potential limitations of the contemplated treatment. For example, for

puberty-blocking medication, the provider will gauge the patient’s ability to

comprehend the effects of puberty on their body and mental health. An integral part

of that discussion is evaluating a patient’s grasp of the consequences of stopping

those physical changes from occurring and alternatives to puberty-blocking

treatment.

      43.    The mental health provider will then document the results of their

assessment in a letter or note to the patient’s treating physician. The letter or note

documents the provider’s diagnostic analysis as well as any professional opinions

regarding the benefits of and readiness for the contemplated treatment. Ultimately,

the appropriateness of any medical treatment is determined by a multidisciplinary

team of mental health and medical care providers.

      E.     Assessing Co-Occurring Conditions & Necessity of Medical
             Treatment for Gender Dysphoria
      44.    The existence—and prevalence—of co-occurring conditions among

transgender young people is unsurprising. Transgender young people must cope

with many stressors from the fear of rejection from family and peers to pervasive

societal discrimination. In addition, their underlying gender dysphoria can cause



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significant psychological distress, which, if left untreated, can result in the

development of co-occurring conditions.

      45.    Transgender young people, however, are not outliers in this regard.

Research and clinical experience show that most psychiatric conditions are highly

correlated with other co-occurring psychiatric conditions. For example, young

people with depression are very likely to have at least one other diagnosable

condition, most often anxiety. See, e.g., E. Jane Costello, et al., Prevalence and

development of psychiatric disorders in childhood and adolescence, 60 Archives of

Gen. Psychiatry 837 (2003) (“There was strong heterotypic continuity from

depression to anxiety” and finding approximately 30% of participants diagnosed

with a depressive disorder were also diagnosed with an anxiety disorder). Likewise,

a study on children diagnosed with Attention-Deficit/Hyperactivity Disorder found

between 74-79% participants had additional co-occurring psychiatric conditions.

Timothy Wilens, et al., Psychiatric Comorbidity and Functioning in Clinically

Referred Preschool Children and School-Age Youths With ADHD, 41 J. of Am.

Academy of Child & Adol. Psychiatry 262 (2002).

      46.    A comprehensive assessment—the cornerstone of the prevailing

standards of care for the treatment of gender dysphoria—not only seeks to identify

any co-occurring conditions, but also to evaluate the effect those conditions have on

a transgender person’s functioning. This is equally true when assessing whether

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medical treatment for gender dysphoria is necessary from a mental health

perspective.

      47.      The standards of care recognize that it is not possible for a transgender

patient to resolve all co-occurring conditions prior to undergoing medical treatment,

nor would it be ethical to impose such a requirement. Resolving all co-occurring

conditions before medical treatment is not a requirement for other conditions.

Gender dysphoria, by definition, is accompanied by clinically significant

psychological distress. That distress can take on many different forms (e.g., anxiety,

mood disorders, and depression) and vary greatly in severity, resulting in co-

occurring conditions.          Because psychological distress          is   not easily

compartmentalized, the distress associated with gender dysphoria can also amplify

co-occurring conditions that developed independently of the gender dysphoria. In

either situation, gender dysphoria limits the effectiveness of treatment of any co-

occurring mental health conditions. Thus, treating the underlying gender dysphoria

is essential to alleviating the psychological distress associated with co-occurring

conditions.

      48.      Even assuming that it was possible to cure a patient’s co-occurring

conditions, delaying medical treatment can cause very real harms to a transgender

person’s physical and mental health. Without medical treatment, their gender

dysphoria would continue to persist and often worsen. At a minimum, that increased

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distress would interfere with the treatment for the person’s co-occurring conditions,

subjecting them unnecessarily to a longer course of treatment. It is often seen that

the gender dysphoria would eclipse the person’s co-occurring conditions, not only

entirely impeding treatment of those co-occurring conditions, but also resulting in

an overall deterioration of their mental health. The increased distress from their

gender dysphoria would translate to resorting to negative coping mechanisms (i.e.,

self-harm), suicidal ideation, and suicide attempts—just as it could if that increased

distress was attributable to a co-occurring condition.

      49.    Gender dysphoria is a real and serious medical condition that is highly

treatable. There is a rigorous and comprehensive protocol for diagnosing an

individual with the condition. There is also a well-established standard of care for

the treatment of gender dysphoria, including for treatment of gender dysphoria in

transgender youth with puberty blockers and hormone therapy. When that treatment

is provided, transgender youth can thrive. There are studies that have demonstrated

that, and my own experience confirms it.

      50.    Medical treatment for gender dysphoria has immense psychological

benefits for youth, bringing their mental health to a level similar to their non-

transgender peers. My understanding is that the rules challenged in this case will

prevent transgender youth and adults in Florida who are diagnosed with gender

dysphoria from getting essential medical care that they need. In my professional

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opinion, if transgender youth cannot get the medical care that they need, including

puberty blockers and hormone therapy, they will suffer and their mental health will

deteriorate.

      F.       The Florida Boards’ Informed Consent Forms for Transgender
               Minors Contain Many False and Misleading Statements that
               Undermine Rather than Enhance Informed Consent and Impose
               Unnecessary Mental Health Requirements
      51.      It is my understanding that Florida Senate Bill 254 prohibits minors

from being prescribed puberty blockers and hormone therapy after May 17, 2023.

However, minors whose treatment was commenced before and still active on that

date may continue to receive medications subject to using the required informed

consent forms and complying with other requirements adopted by the Florida

medical boards. I have reviewed the rules and informed consent forms adopted by

the boards for continuing treatment of minors. In my opinion, those forms include

many false and misleading statements, as well as imposing unnecessary mental

health requirements that are inconsistent with the standards of care.

      52.      By way of example, the consent forms state: “Medical treatment of

people with gender dysphoria is based on very limited, poor-quality research with

only subtle improvements seen in some patient’s psychological functioning in some,

but not all, research studies. This practice is purely speculative, and the possible

psychological benefits may not outweigh the substantial risks of medical treatments

and, in many cases, the need for lifelong medical treatments.” This is not correct. As

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discussed above, established research shows that medical treatment for gender

dysphoria offers significant mental health benefits for transgender adolescents. The

research demonstrating the safety and effectiveness of medical care for gender

dysphoria is of a similar type as the research that medical professionals rely on in

treating many other conditions.

      53.    The consent forms state that “psychological therapy with a mental

health care provider” is an alternative treatment option for patients or parents who

do not wish to start or continue treatment with puberty blockers or hormone therapy.

This statement is incorrect to the extent it indicates that therapy alone is an effective

alternative treatment for adolescents or adults for whom puberty blockers or

hormone therapy are medically indicated. As noted, the focus of effective mental

health treatment is supporting a person’s overall health and well-being. While

therapy offers important benefits for many people, whether or not they are

transgender, there is no evidence that therapy alone can alleviate gender dysphoria

in adolescents for whom treatment with puberty blockers or hormone therapy is

otherwise indicated.

      54.    The consent forms also state that treatment with puberty blockers or

hormone therapy “will not prevent serious psychiatric events, including suicide.”

This statement is incorrect to the extent it indicates that these medications are not

likely to have a beneficial effect on a transgender adolescent’s mental health, or that

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these treatments cannot reduce suicidality. As discussed above, research and clinical

experience establish that all stages of gender transition, including treatment with

puberty blockers and hormone therapy when appropriate, significantly improve the

mental and physical health of transgender adolescents and is the only demonstrably

effective treatment for gender dysphoria.

      55.    The above statements represent just a few of the more significant

examples of the false or misleading statements present in the consent forms adopted

by the boards.

      56.    In addition to containing inaccurate statements, the informed consent

forms also impose various requirements and conditions for treatment with puberty

blockers and hormone therapy that have no medical basis. For example, to continue

treatment, an adolescent must undergo “an annual mental health assessment to be

performed by a board-certified Florida licensed psychiatrist or psychologist.” The

WPATH Standards of Care do not require a that either initial or ongoing assessments

may be performed only by a psychiatrist or psychologist. To the contrary, the

standards recognize that different types of medical and mental health professionals

may be qualified to assess a transgender adolescent or adult for puberty blockers or

hormone therapy. The WPATH standards state that professionals working with

transgender adolescents should hold appropriate licensing and qualifications in a

relevant clinical field and have relevant training and expertise in gender identity, and

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they encourage care to be provided by a multidisciplinary team, but they do not limit

mental health assessment or care to psychiatrists or psychologists only, and such a

requirement appears to serve no purpose except to impede access to care. The

WPATH standards specifically emphasize that “lack of available disciplines should

not preclude a young person from accessing needed care in a timely manner.”

WPATH SOC 8, Statement 6.9.

      57.    For similar reasons, there is no medical basis for a requirement that a

transgender adolescent be re-evaluated by a psychiatrist or psychologist every year,

for a requirement that all transgender adolescents receiving puberty blockers or

hormone therapy receive a “suicide risk assessment by a licensed mental health care

professional” every three months. As discussed above, medical treatment for gender

dysphoria has enormous benefits for transgender adolescents. While many

adolescents, transgender and non-transgender alike, experience suicidality and other

mental health challenges, there is no evidence that treatment with puberty blockers

or hormone therapy requires special ongoing mental health assessments not required

for other adolescents. Ongoing mental health care and assessment depends on an

adolescent’s individual needs and may be provided by primary care providers and/or

mental health professionals. The WPATH Standards of Care encourage health care

providers to maintain an ongoing relationship with transgender adolescents




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receiving medical treatment for gender dysphoria, but they do not require these types

of formal mental health assessments. WPATH SOC 8, Statement 6.8.

      58.    There also is no evidence-based medical justification for an inflexible

requirement that every adolescent receiving puberty blockers or hormone therapy

must have “[c]ontinued counseling with a licensed mental health care professional

during the treatment period, with the frequency recommended by the licensed mental

health care professional.” The WPATH Standards of Care encourage health care

providers to maintain an ongoing relationship that “provide space for adolescents

and caregivers to share important psychosocial aspects of emotional well-being,” but

they do not require ongoing mental health therapy or counseling in all cases.

WPATH SOC 8, Statement 6.8.

      59.    The standards recognize that adolescents may experience barriers to

care arising from their inability to access specific types of providers such as mental

health professionals and urge flexibility in determining appropriate ongoing clinical

relationships, and they also note that “many transgender adolescents are well-

functioning and experience few if any mental health concerns.” WPATH SOC 8,

Statement 6.12.d. For these youth, ongoing mental health therapy or counseling

during treatment may be unnecessary.

      60.    The consent forms also require an in-person visit before an adolescent

may be prescribed treatment, and in-person follow-up visits every six months. These

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requirements are unnecessary and contradict the standards of care, which emphasize

that adolescents should not be prevented from obtaining treatment due to lack of

access to medical resources. While regular follow-up is appropriate during

treatment, there is no medical justification for inflexibly requiring all of those visits

to be in person. Providing options such as virtual visits may better serve the needs

of some patients and improve the frequency and quality of ongoing follow-up care.

      61.    S.B. 254 and the informed consent forms also impose an unnecessary

and medically unjustified requirement that transgender patients (and their parent in

the case of an adolescent patient) must sign the mandatory consent forms in an in-

person meeting with their physician. A frank and candid discussion of the risks and

benefits of puberty blockers and hormone therapy does not require an in-person visit

and can easily be accomplished through other methods such as a video or audio

conference. This requirement is not imposed for other patients or other medications,

including the many other medications that pose greater risks.

      62.    I hold each of the opinions expressed in this report with a reasonable

degree of scientific certainty, based on the materials I have reviewed and on my

education, experience, and knowledge. I reserve the right to supplement, amend,

or modify my opinions upon review of further information, including, but not

limited to, testimony, documents, and reports I receive after




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the date of this report.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed this 16th day of August 2023.




                                                  Aron Janssen, M.D.




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                                   Exhibit A
                            Curriculum Vitae




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                              Curriculum Vitae
                             Aron Janssen, M.D.
Personal Data
Born                    Papillion, Nebraska
Citizenship             USA
Academic Appointments
2011-2017    Clinical Assistant Professor of Child and Adolescent Psychiatry
2011-2019    Founder & Clinical Director, NYU Gender and Sexuality
             Service Director, LGBT Mental Health Elective, NYULMC
2015-2019    Co-Director, NYU Pediatric Consultation Liaison Service New
             York University Department of Child and Adolescent
             Psychiatry 2017-present Clinical Associate Professor of Child
             and Adolescent Psychiatry
2019-present Vice Chair, Pritzker Department of Psychiatry and Behavioral
             Health Ann and Robert H. Lurie Children’s Hospital of
             Chicago
2020-present Medical Director, Outpatient Psychiatric Services Ann and
             Robert H. Lurie Children’s Hospital of Chicago
Education
Year          Degree              Field             Institution
6/97          Diploma                               Liberty High School
5/01          B.A.                Biochemistry      University of Colorado
5/06          M.D.                Medicine          University of Colorado
Postdoctoral Training
2006-2009      Psychiatry Residency Ze’ev Levin, M.D. NYU Department of
               Psychiatry
2009-2011      Child and Adolescent Psychiatry Fellowship – Fellow and Clinical
                Instructor      Jess Shatkin, M.D.NYU Dept of Child/Adolescent
                Psychiatry
Licensure and Certification
2007-2018       New York State Medical License
2017-present    Illinois Medical License
2011-present    Certification in Adult Psychiatry, American Board of Psychiatry and
Neurology 2013-present    Certification in Child and Adolescent Psychiatry, ABPN

Academic Appointments
2009-2011        Clinical Instructor, NYU Department of Child and Adolescent
Psychiatry 2011-2017Clinical Asst Professor, NYU Dept of Child and
Adolescent Psychiatry 2017-2019 Clinical Assoc Professor, NYU Dept of Child


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and Adolescent Psychiatry 2011-2019 Clinical Director, NYU Gender and
Sexuality Service
2015-2019         Co-Director, NYU Pediatric Consultation-Liaison Service
2019-present      Associate Professor of Child and Adolescent Psychiatry,
Northwestern University 2019-present Vice Chair of Clinical Affairs, Pritzker
Department of Psychiatry and Behavioral
                  Health, Lurie Children’s Hospital of Chicago




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Major Committee Assignments

International, National and Regional
      2021-present       Sexual Orientation and Gender Identity Committee,
      Chair, AACAP 2019-presentWPATH Standards of Care Revision
      Committee, Children
      2019-present       WPATH Standards of Care Revision Committee, Adult
      Mental Health 2015-2019 Department of Child Psychiatry Diversity
      Ambassador
      2013-2021          Sexual Orientation and Gender Identity Committee
      Member, AACAP 2012-2019Founder and Director, Gender Variant Youth and
      Family Network 2012-present       Association of Gay and Lesbian
      Psychiatrists, Transgender Health
                         Committee
      2012-2019          NYULMC, Chair LGBTQ Advisory Council
      2012-2019          NYULMC, Child Abuse and Protection
      Committee 2013-2015NYULMC, Pediatric Palliative Care
      Team
      2003-2004          American Association of Medical Colleges (AAMC), Medical
                         Education Delegate
      2004-2006          AAMC, Western Regional
Chair Psychiatry Residency
      2006-2009          Resident Member, Education Committee
      2007-2008          Resident Member, Veterans Affairs (VA)
Committee Medical School
      2002-2006            Chair, Diversity Curriculum Development Committee
      2002-2006            AAMC, Student Representative
      2003-2004            American Medical Student Assoc. (AMSA) World AIDS Day Coordinator
      2003-2004            AMSA, Primary Care Week Coordinator
      2004-2006            Chair, Humanism in Medicine Committee

Memberships, Offices, and Committee Assignments in Professional Societies
      2006-present     American Psychiatric Association (APA)
      2009-present     American Academy of Child and Adolescent Psychiatry
      (AACAP) 2011-present      World    Professional    Association   for
      Transgender Health (WPATH) 2011-2019Director, Gender Variant Youth
      and Family Network, NYC
      2013-2019        Chair, NYU Langone Medical Center LGBTQ Council
Editorial Positions
       2016-2018          Clinical Assistant Editor, Transgender Health
       2014-present       Ad Hoc Reviewer, LGBT Health.
      2016-present        Ad Hoc Reviewer, JAACAP
      2018-present        Associate Editor, Transgender Health
      2020-present        Ad Hoc Reviewer, Pediatrics


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Principal Clinical and Hospital Service Responsibilities
       2011-2019        Staff Psychiatrist, Pediatric Consultation Liaison
       Service 2011-2019Faculty Physician, NYU Child Study Center
       2011-2019        Founder and Clinical Director, NYU Gender & Sexuality Service




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       2015-2019        Co-Director, Pediatric Consultation Liaison Service
       2019-present     Vice Chair, Pritzker Dept of Psychiatry and
       Behavioral Health 2019-present Chief Psychiatrist, Gender
       Development Program
       2020-present     Medical Director, Outpatient Psychiatry Services

Relevant Program Development
       Gender and Sexuality Service
            -founded by Aron Janssen in 2011, who continues to direct the service
            -first mental health service dedicated to transgender youth in NYC
            -served over 200 families in consultation, with 2-3 referrals to the
                   gender clinic per week
            -trained over 500 mental health practitioners in transgender mental health – 1
            or
                   2 full day trainings in partnership with the Ackerman Institute’s
                   Gender and Family Project (GFP) and with WPATH Global
                   Educational Initiative (GEI)
            -New hires in Adolescent Medicine, Psychology, Plastic Surgery, Urology,
                   Gynecology, Endocrinology, Social Work, Department of Population
                   Health with focus on transgender care has led to expansion of
                   available services for transgender youth at NYULMC in partnership
                   with the Gender and Sexuality Service
            -development of partnerships with Ackerman Institute, Callen-Lorde Health
                   Center – both institutions have been granted access to our IRB and
                   have agreed to develop shared research and clinical priorities with the
                   Gender and Sexuality Service.
            -multiple IRB research projects underway, including in partnership with
                   national and international clinics
            -model has been internationally recognized

Clinical Specialties/Interests
       Gender and Sexual Identity Development
       Co-Occurring Mental Health Disorders in Transgender children, adolescents and
       adults Pediatric Consultation/Liaison Psychiatry
       Psychotherapy
       Gender Affirmative Therapy, Supportive Psychotherapy, CBT, MI
Teaching Experience
      2002-2006 Course Developer and Instructor, LGBT Health (University of Colorado School
                   of Medicine
      2011-2019 Instructor, Cultural Competency in Child Psychiatry (NYU Department of Child
                   and Adolescent Psychiatry) – 4 hours per year
      2011-2019 Course Director, Instructor “Sex Matters: Identity, Behavior and Development” –
                   100 hours per year
      2011-2019 Course Director, LGBT Mental Health Elective (NYU Department of Psychiatry)


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            - 50 hours of direct supervision/instruction per year
2011-2019   Course Director, Transgender Mental Health (NYU Department of Child and
            Adolescent Psychiatry – course to begin in Spring 2018.
2015-2019   Instructor, Gender & Health Selective (NYU School of Medicine) – 4 hours per
            year.




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Academic Assignments/Course Development
       New York University Department of Child and Adolescent Mental Health Studies
            -Teacher and Course Director: “Sex Matters: Identity, Behavior and
            Development.”
                 A full semester 4 credit course, taught to approximately 50 student per
                 year since 2011, with several students now in graduate school studying
                 sexual and gender identity development as a result of my mentorship.

       NYU Department of Child and Adolescent Psychiatry
             -Instructor: Cultural Competency in Child and Adolescent Psychiatry
             -Director: LGBTQ Mental Health
       Elective World Professional Association of
       Transgender Health
             -Official Trainer: Global Education Initiative – one of two child
                   psychiatrists charged with training providers in care of transgender
                   youth and adults.

Peer Reviewed Publications
            1. Janssen, A., Erickson-Schroth, L., “A New Generation of Gender: Learning Patience
                from our Gender Non-Conforming Patients,” Journal of the American Academy of
                Child and Adolescent Psychiatry, Volume 52, Issue 10, pp. 995-997, October, 2013.
            2. Janssen, A., et. al. “Theory of Mind and the Intolerance of Ambiguity: Two Case
                Studies of Transgender Individuals with High-Functioning Autism Spectrum
            3. Janssen A, Huang H, and Duncan C., Transgender Health. February 2016, “Gender
                Variance Among Youth with Autism: A Retrospective Chart Review.” 1(1): 63-68.
                doi:10.1089/trgh.2015.0007.
            4. Goedel WC, Reisner SL, Janssen AC, Poteat TC, Regan SD, Kreski NT, Confident G,
                Duncan DT. (2017). Acceptability and Feasibility of Using a Novel Geospatial
                Method to Measure Neighborhood Contexts and Mobility Among Transgender
                Women in New York City. Transgender Health. July 2017, 2(1): 96-106.
            5. Janssen A., et. al., “Gender Variance Among Youth with ADHD: A Retrospective
                Chart Review,” in review
            6. Janssen A., et. al., “Initial Clinical Guidelines for Co-Occurring Autism Spectrum
                Disorder and Gender Dysphoria or Incongruence in Adolescents,” Journal of Child &
                Adolescent Psychology, 105-115, January 2018.
            7. Janssen A., et. al., “A Review of Evidence Based Treatments for Transgender Youth
                Diagnosed with Social Anxiety Disorder,” Transgender Health, 3:1, 27–33, DOI:
                10.1089/ trgh.2017.0037.
            8. Janssen A., et. al., “'The Complexities of Treatment Planning for Transgender Youth
                with Co-Occurring Severe Mental Illness: A Literature Review and Case Study,”
                Archives of Sexual Behavior, 2019. # 3563492
            9. Kimberly LL, Folkers KM, Friesen P, Sultan D, Quinn GP, Bateman-House A, Parent
                B, Konnoth C, Janssen A, Shah LD, Bluebond-Langner R, Salas-Humara C., “Ethical
                Issues in Gender-Affirming Care for Youth,” Pediatrics, 2018 Dec;142(6).
            10. Strang JF, Janssen A, Tishelman A, Leibowitz SF, Kenworthy L, McGuire JK,
                Edwards-Leeper L, Mazefsky CA, Rofey D, Bascom J, Caplan R, Gomez-Lobo V,
                Berg D, Zaks Z, Wallace GL, Wimms H, Pine-Twaddell E, Shumer D, Register-
                Brown K, Sadikova E, Anthony LG., “Revisiting the Link: Evidence of the Rates of


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                 Autism in Studies of Gender Diverse Individuals,” Journal of the
                 American Academy of Child and Adolescent Psychiatry, 2018
                 Nov;57(11):885-887.
              11. Goedel William C, Regan Seann D, Chaix Basile, Radix Asa, Reisner Sari L, Janssen
                  Aron C, Duncan Dustin T, “Using global positioning system methods to explore
                  mobility patterns and exposure to high HIV prevalence neighbourhoods among
                  transgender women in New York City,” Geospatial Health, 2019 Jan; 14(2): 351-356.
              12. Madora, M., Janssen, A., Junewicz, A., “Seizure-like episodes, but is it really
                  epilepsy?” Current Psychiatry. 2019 Aug; 18(8): 42-47.
              13. Janssen, A., Busa, S., Wernick, J., “The Complexities of Treatment Planning for
                  Transgender Youth with Co-Occurring Severe Mental Illness: A Literature Review
                  and Case Study,” Archives of Sexual Behavior. 2019 Oct; 48(7): 2003-2009.
              14. Wernick Jeremy A, Busa Samantha, Matouk Kareen, Nicholson Joey, Janssen Aron,
                  “A Systematic Review of the Psychological Benefits of Gender-Affirming Surgery,”
                  Urol Clin North Am. 2019 Nov; 46(4): 475-486.
              15. Strang, J.F., Knauss, M., van der Miesen, A.I.R., McGuire, J., Kenworthy, L., Caplan,
                  R., Freeman, A.J., Sadikova, E., Zacks, Z., Pervez, N., Balleur, A., Rowlands, D.W.,
                  Sibarium, E., McCool, M.A., Ehrbar, R.D., Wyss, S.E., Wimms, H., Tobing, J.,
                  Thomas, J., Austen, J., Pine, E., Willing, L., Griffin, A.D., Janssen, A., Gomez-Lobo,
                  A., Brandt, A., Morgan, C., Meagher, H., Gohari, D., Kirby, L., Russell, L., Powers,
                  M., & Anthony, L.G., (in press 2020). A clinical program for transgender and gender-
                  diverse autistic/neurodiverse adolescents developed through community-based
                  participatory design. Journal of Clinical Child and Adolescent Psychology. DOI
                  10.1080/15374416.2020.1731817
              16. Coyne, C. A., Poquiz, J. L., Janssen, A., & Chen, D. Evidence-based psychological
                  practice for transgender and non-binary youth: Defining the need, framework for
                  treatment adaptation, and future directions. Evidence-based Practice in Child and
                  Adolescent Mental Health.
              17. Janssen, A., Voss, R.. Policies sanctioning discrimination against transgender patients
                  flout scientific evidence and threaten health and safety. Transgender Health.
              18. Dubin, S., Cook, T., Liss, A., Doty, G., Moore, K., Janssen, A. (In press 2020).
                  Comparing Electronic Health Records Domains’ Utility to Identify Transgender
                  Patients. Transgender Health, DOI 10.1089/trgh.2020.0069

Published Abstracts
             1. Thrun, M., Janssen A., et. al. “Frequency of Patronage and Choice of Sexual Partners
                may Impact Likelihood of HIV Transmission in Bathhouses,” original research poster
                presented at the 2007 Conference on Retroviruses and Opportunistic Infections,
                February, 2007.
             2. Janssen, A., “Advocating for the mental health of Lesbian, Gay, Bisexual and
                Transgender (LGBT) population: The Role of Psychiatric Organizations.”
                Workshop for the American Psychiatric Association Institute of Psychiatric
                Services Annual Meeting, October 2012.
             3. Janssen, A., “Gender Variance in Childhood and Adolescents: Training the
                Next Generation of Psychiatrists,” 23rd Symposium of the World Professional
                Association for Transgender Health, Amsterdam, The Netherlands, February
                2014.




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4. Janssen, A., “When Gender and Psychiatric Acuity/Comorbidities Overlap:
    Addressing Complex Issues for Gender Dysphoric and Non-Conforming
    Youth,” AACAP Annual Meeting, October 2014.
5. Janssen, A., “Patient Experiences as Drivers of Change: A unique model for
    reducing transgender health disparities as an academic medical center,”
    Philadelphia Transgender Health Conference, June 2016.
6. Janssen, A., “How much is too much? Assessments & the Affirmative Approach to
    TGNC Youth,” 24th Symposium of the World Professional Association for
    Transgender Health, Amsterdam, The Netherlands, June 2016.
7. Janssen, A., “Trauma, Complex Cases and the Role of Psychotherapy,” 24th
    Symposium of the World Professional Association for Transgender Health,
    Amsterdam, The Netherlands, June 2016.
8. Janssen, A., “Gender Variance Among Youth with Autism: A Retrospective Chart
    Review,” Research Poster, 24th Symposium of the World Professional Association
    for Transgender Health, Amsterdam, The Netherlands, June 2016.
9. Janssen, A., “Gender Fluidity and Gender Identity Development,” Center for
    Disease Control – STD Prevention Conference, September 2016.
10. Janssen, A., “Transgender Identities Emerging During Adolescents' Struggles
    With Mental Health Problems,” AACAP Annual Conference, October 2016.
11. Janssen, A., “How Much is Too Much? Assessments and the Affirmative
    Approach to Transgender and Gender Diverse Youth,” US Professional
    Association for Transgender Health Inaugural Conference, Los Angeles,
    February 2017.
12. Janssen, A., “Trauma, Complex Cases and the Role of Psychotherapy,” US
    Professional Association for Transgender Health Inaugural Conference, Los
    Angeles, February 2017.
13. Sutter ME, Bowman-Curci M, Nahata L, Tishelman AC, Janssen AC, Salas-Humara
    C, Quinn GP. Sexual and reproductive health among transgender and gender-
    expansive AYA: Implications for quality of life and cancer prevention. Oral
    presentation at the Oncofertility Consortium Conference, Chicago, IL. November 14,
    2017.
14. Janssen, A., Sidhu, S., Gwynette, M., Turban, J., Myint, M., Petersen, D., “It’s
    Complicated: Tackling Gender Dysphoria in Youth with Autism Spectrum
    Disorders from the Bible Belt to New York City,” AACAP Annual
    Conference, October 2017.
15. May 2018: “A Primer in Working with Parents of Transgender Youth,” APA Annual
    Meeting.
16. October 2018: “Gender Dysphoria Across Development” – Institute for AACAP
    Annual Conference.
17. November 2018: “Gender Variance Among Youth with Autism,” World Professional
    Association for Transgender Health Biannual Conference.
18. March 2019: “Gender Trajectories in Child and Adolescent Development and
    Identity,” Austin Riggs Grand Rounds.
19. Janssen, A., et. al., “Ethical Principles in Gender Affirming Care,” AACAP
    Annual Conference, October 2019.




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              20. Janssen, A., “Gender Diversity and Gender Dysphoria in Youth,” EPATH
                  Conference, April 2019
              21. Englander, E., Janssen A., et. al., “The Good, The Bad, and The Risky: Sexual
                  Behaviors Online,” AACAP Annual Conference, October 2020
              22. Englander, E., Janssen, A., et. al., “Love in Quarantine,” AACAP Annual
                  Conference, October 2021
              23. Janssen, A., Leibowitz, S., et. al., “The Evidence and Ethics for Transgender
                  Youth Care: Updates on the International Standards of Care, 8th Edition,”
                  AACAP Annual Conference, October 2021
              24. Turban, J., Janssen, A., et. al., “Transgender Youth: Understanding
                  “Detransition,” Nonlinear Gender Trajectories, and Dynamic Gender
                  Identities,” AACAP Annual Conference, October 2021

Books
            1. Janssen, A., Leibowitz, S (editors), Affirmative Mental Health Care for
               Transgender and Gender Diverse Youth: A Clinical Casebook, Springer
               Publishing, 2018.
Book Chapters
            1. Janssen, A., Shatkin, J., “Atypical and Adjunctive Agents,” Pharmacotherapy
               for Child and Adolescent Psychiatric Disorders, 3rd Edition, Marcel Dekker,
               Inc, New York, 2012.
            2. Janssen, A; Liaw, K: “Not by Convention: Working with People on the Sexual
               & Gender Continuum,” book chapter in The Massachusetts General Hospital
               Textbook on Cultural Sensitivity and Diversity in Mental Health. Humana
               Press, New York, Editor R. Parekh, January 2014.
            3. Janssen, A; Glaeser, E., Liaw, K: “Paving their own paths: What kids & teens
               can teach us about sexual and gender identity,” book chapter in Cultural
               Sensitivity in Child and Adolescent Mental Health, MGH Psychiatry
               Academy Press, Editor R. Parekh, 2016
            4. Janssen A., “Gender Identity,” Textbook of Mental and Behavioral Disorders
               in Adolescence, February 2018.
            5. Busa S., Wernick, J., & Janssen, A. (In Review) Gender Dysphoria in
               Childhood. Encyclopedia of Child and Adolescent Development. Wiley, 2018.
            6. Janssen A., Busa S., “Gender Dysphoria in Childhood and Adolescence,”
               Complex Disorders in Pediatric Psychiatry: A Clinician’s Guide, Elsevier,
               Editors Driver D., Thomas, S., 2018.
            7. Wernick J.A., Busa S.M., Janssen A., Liaw K.RL. “Not by Convention:
               Working with People on the Sexual and Gender Continuum.” Book chapter in
               The Massachusetts General Hospital Textbook on Diversity and Cultural
               Sensitivity in Mental Health, editors Parekh R., Trinh NH. August, 2019.
            8. Weis, R., Janssen, A., & Wernick, J. The implications of trauma for sexual and
               reproductive health in adolescence. In Not Just a nightmare: Thinking beyond
               PTSD to help teens exposed to trauma. 2019
            9. Connors J., Irastorza, I., Janssen A., Kelly, B., “Child and Adolescent
               Medicine,” The Equal Curriculum: The Student and Educator Guide to
               LGBTQ Health, editors Lehman J., et al. November 2019.




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              10. Janssen, A., et. al., “Gender and Sexual Diversity in Childhood and
                  Adolescence,” Dulcan’s Textbook of Child and Adolescent Psychiatry, 3 rd
                  edition, editor Dulcan, M., (in press)
              11. Busa S., Wernick J, Janssen, A., “Gender Dysphoria,” The Encyclopedia of
                  Child and Adolescent Development, DOI: 10.1002/9781119171492. Wiley,
                  December 2020.

Invited Academic Seminars/Lectures
             1. April 2006: “How to Talk to a Gay Medical Student” – presented at the National
                 AAMC Meeting.
             2. March 2011: “Kindling Inspiration: Two Model Curricula for Expanding the Role of
                 Residents as Educators” – workshop presented at National AADPRT Meeting.
             3. May 2011: Janssen, A., Shuster, A., “Sex Matters: Identity, Behavior and
                 Development,” Grand Rounds Presentation, NYU Department of Child and
                 Adolescent Psychiatry.
             4. March 2012: Janssen, A., Lothringer, L., “Gender Variance in Children and
                 Adolescents,” Grand Rounds Presentation, NYU Department of Child and Adolescent
                 Psychiatry.
             5. June 2012: Janssen, A., “Gender Variance in Childhood and Adolescence,” Grand
                 Rounds Presentation, Woodhull Department of Psychiatry
             6. October 2012: “Advocating for the mental health of Lesbian, Gay, Bisexual and
                 Transgender (LGBT) population: The Role of Psychiatric Organizations.” Workshop
                 for the American Psychiatric Association Institute of Psychiatric Services Annual
                 Meeting.
             7. March 2013: “Gender Variance in Childhood and Adolescence,” Sexual Health
                 Across the Lifespan: Practical Applications, Denver, CO.
             8. October 18 th, 2013: “Gender Variance in Childhood and Adolescence,” Grand
                 Rounds Presentation, NYU Department of Endocrinology.
             9. October, 2014: GLMA Annual Conference: “Theory of Mind and Intolerance of
                 Ambiguity: Two Case Studies of Transgender Individuals with High-Functioning
                 ASD,” Invited Presentation
             10. October 2014: New York Transgender Health Conference: “Mental Health
                 Assessment in Gender Variant Children,” Invited Presentation.
             11. November, 2014: Gender Spectrum East: “Affirmative Clinical Work with Gender-
                 Expansive Children and Youth: Complex Situations.”
             12. October 2015: “Gender Dysphoria and Complex Psychiatric Co-Morbidity,” LGBT
                 Health Conference, Invited Speaker
             13. October 2015: “Transgender Health Disparities: Challenges and Opportunities,”
                 Grand Rounds, Illinois Masonic Department of Medicine
             14. November 2015: “Autism and Gender Variance,” Gender Conference East, Invited
                 Speaker
             15. February 2016: “Working with Gender Variant Youth,” New York State Office of
                 Mental Health State Wide Grand Rounds, Invited Speaker
             16. March, 2016: “Working with Gender Variant Youth,” National Council for
                 Behavioral Health Annual Meeting, Invited Speaker




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             17. March 2016: “Gender Variance Among Youth with Autism: A Retrospective Chart
                 Review and Case Presentation,” Working Group on Gender, Columbia University,
                 Invited Speaker.
             18. September, 2016: “Best Practices in Transgender Mental Health: Addressing
                 Complex Issues for Gender Dysphoric and Non-Conforming Youth,” DeWitt Wallace
                 Institute for the History of Psychiatry, Weill Cornell.
             19. October, 2016: “LGBTQ Youth Psychiatric Care,” Midwest LGBTQ Health
                 Symposim
             20. October, 2016: “Gender Fluidity and Gender Identity Development,” NYU Health
                 Disparities Conference.
             21. February, 2017: “Best Practices in Transgender Mental Health,” Maimonides Grand
                 Rounds
             22. March, 2017: “Transgender Health: Challenges and Opportunities,” Invited speaker,
                 Center for Disease Control STD Prevention Science Series.
             23. September 2017: “Autism and Gender Dysphoria,” Grand Rounds, NYU Department
                 of Neurology.
             24. November 2017: “Consent and Assent in Transgender Adolescents,” Gender
                 Conference East.
             25. November 2017: “Transgender Mental Health: Challenges and Opportunities,” Grand
                 Rounds, Lenox Hill Hospital.
             26. April 2018: “Gender Trajectories in Childhood and Adolescent Development and
                 Identity,” Sex, Sexuality and Gender Conference, Harvard Medical School.
             27. September 2019: “Social and Psychological Challenges of Gender Diverse Youth,”
                 Affirmative Mental Health Care for Gender Diverse Youth, University of Haifa.
             28. October 2019: “Best Practices in Transgender Mental Health,” Grand Rounds, Rush
                 Department of Psychiatry.
             29. February 2020: “The Overlap of Autism and Gender Dysphoria,” Grand Rounds,
                 Northwestern University Feinberg School of Medicine Department of Psychiatry
             30. February 2020: “Gender Dysphoria and Autism,” Grand Rounds, University of
                 Illinois at Chicago Department of Psychiatry
             31. September 2021: “Gender Diversity and Autism,” Grand Rounds, Kaiser Permanente
                 Department of Pediatrics
             32. October 2021: Gender Dysphoria and Autism,” Grand Rounds, Case Western Reserve
                 University Department of Psychiatry.

Selected Invited Community Seminars/Lectures
              1. April 2012: “Gender and Sexuality in Childhood and Adolescence,” Commission on
                  Race, Gender and Ethnicity, NYU Steinhardt Speakers Series.
              2. February 2013: “Supporting Transgender Students in School,” NYC Independent
                  School LGBT Educators Panel, New York, NY.
              3. June 2013: “LGBT Health,” Presentation for Neuropsychology Department
              4. August 2013: “Chronic Fatigue Syndrome: Etiology, Diagnosis and Management,”
                  invited presentation.
              5. September 2013: Panelist, “LGBTQ Inclusive Sex Education.”
              6. April 2015: Transgender Children, BBC News, BBCTwo, invited expert




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              7. January 2016: Gender Dysphoria and Autism – Ackerman Podcast -
                  http://ackerman.podbean.com/e/the-ackerman-podcast-22-gender-dysphoria-autism-
                  with-aron-janssen-md/
              8. February 2016: “Best Practices in Transgender Mental Health,” APA District Branch
                  Meeting, Invited Speaker.
              9. May 2016: “Best Practices in Transgender Mental Health,” Washington D.C., District
                  Branch, APA, Invited Speaker
              10. July 2016: “Transgender Youth,” Union Square West
              11. November 2017: “Understanding Gender: Raising Open, Accepting and Diverse
                  Children,” Heard in Rye, Conversations in Parenting.
              12. January 2018: “The Emotional Life of Boys,” Saint David’s School Panel, Invited
                  Speaker
              13. June 2018: “Supporting Youth Engaged in Gender Affirming Care,” NYU Child
                  Study Center Workshop.
              14. October 2018: “Medicine in Transition: Advances in Transgender Mental Health,”
                  NYCPS HIV Psychiatry and LGBT Committee Meeting.
              15. October 2018: “Understanding Gender Fluidity in Kids,” NYU Slope Pediatrics.
              16. October, 2021: Issues of Ethical Importance: Health Care for Pediatric LGBTQ+
                  Patients, American Medical Association, Invited Talk

Major Research Interests
       Gender and Sexual Identity Development
       Member, Research Consortium for Gender Identity
       Development Delirium: Assessment, Treatment and
       Management
       Suicide Prevention

Research Studies
Study Title                                             IRB Study#            Dates
Suicide Attempts Identified in a Children’s Hospital    2021-4428             2/26/21-present
Before and During COVID-19

Lurie Children’s Sex & Gender Development Program       2019-2898             2019-present
Clinical Measure Collection

Adolescent Gender Identity Research Study               s15-00431             4/15-5/19
(principal investigator) - unfunded

Co-Occurrence of Autism Spectrum Disorders              s14-01930             10/14-5/19
and Gender Variance: Retrospective Chart Review
(principal investigator) - unfunded

Expert Consensus on Social Transitioning Among          s13-00576             3/16-5/19
Prepubertal Children Presenting with Transgender
Identity and/or Gender Variance: A Delphi Procedure
Study (principal investigator) - unfunded




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Co-Occurrence of ADHD/Gender Dysphoria            s16-00001        1/16-5/19
(principal investigator) - unfunded

PICU Early Mobility- unfunded                     s16-02261        12/16-5/19

Metformin for Overweight and Obese Children       s16-01571        8/16-5/19
and Adolescents with Bipolar Spectrum Disorders
Treated with Second-Generation Antipsychotics –
Funded by PCORI

Other
        Grant Funding:
        Zero Suicide Initiative, PI Aron Janssen,
        M.D. Awarded by Cardinal Health
        Foundation, 9/2020 Total amount: $100,000

        Catalyst Fund, PI Aron Janssen, M.D.
        Suicide Prevention in Pediatric
        Primary Care Total amount: $750,000
Selected Media Appearances:
        Guest Expert on Gender Identity on Anderson, “When Your Husband Becomes Your
              Wife,” Air Date February 8th, 2012
        Guest Host, NYU About Our Kids on Sirius
        XM, 2011 NYU Doctor Radio: LGBT Health,
        September 2013 NYU Doctor Radio: LGBT
        Kids, November 2013 NYU Doctor Radio:
        LGBT Health, July 2014
        NYU Doctor Radio: Gender Variance in Childhood,
        December 2014 BBC Two: Transgender Youth, April 2015
        NYU Doctor Radio: Transgender Youth, June 2015
        Fox-5 News: Trump’s proposed military ban and Transgender Youth, July, 2017
        Healthline.com: Mental Health Experts Call President’s Tweets ‘Devastating’ for
        Trans Teens,
              July, 2017
        Huffington Post: What the Military Ban Says to Our Transgender Youth:
        August, 2017 Metro: How to talk to your transgender kid about Trump,
        August 2017
        NYU Doctor Radio: Transgender Youth, August 2017




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                                      Exhibit B
                                  Bibliography




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transgender youth. JAMA network open, 4(4), e214739-e214739.

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